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                                                                                           United States District Court
                                                                                             Southern District of Texas

                                                                                                ENTERED
UNITED STATES DISTRICT COURT                                       SOUTHERN DISTRICT OFApril
                                                                                        TEXAS14, 2023
                                                                                             Nathan Ochsner, Clerk

                  Motion and Order for Admission Pro Hac Vice

      Division        Victoria                             Case Number               6:23-cv-00013
                                          State of Texas, et al.


                                                  versus
                    Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.



           Lawyer’s Name                Taylor Pitz
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       Federal Bar & Number             California Bar No. 332080



 Name of party applicant seeks to                                    Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                       Signed:                              /s/ Taylor Pitz
              4/13/2023



 The state bar reports that the applicant’s status is: Active


 Dated: 4-14-2023             Clerk’s signature



              Order
                                                  This lawyer is admitted pro hac vice.

Dated:           April 14, 2023
                                                           United States District Judge
